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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                    Case No. 3:16-md-2738-MAS-RLS
   TALCUM POWDER PRODUCTS
   MARKETING, SALES                            MDL Case No. 2738
   PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION

   THIS DOCUMENT RELATES TO
   ALL CASES



      PLAINTIFFS’ STEERING COMMITTEE’S MOTION TO SEAL
      EXHIBITS FILED WITH THE OPPOSITION TO DEFENDANTS
    JOHNSON & JOHNSON AND LLT MANAGEMENT, LLC’S MOTION
         TO EXCLUDE THE SPECIFIC CAUSATION OPINIONS
                      OF DR. JUDITH WOLF


        Pursuant to Rule 5(d) of the Federal Rules of Civil Procedure and Local Civil

  Rules 5.3(c) and 7.1, Plaintiffs, by and through Plaintiffs’ Steering Committee

  (“PSC”), hereby move to file Exhibits 5, 7, 8, 9, 27 and 28 to the Declaration of P.

  Leigh O’Dell, submitted in support of the PSC’s Memorandum of Law in Response

  and Opposition to Defendants Johnson & Johnson and LLT Management, LLC’s

  Motion to Exclude the Specific Causation Opinions of Dr. Judith Wolf (ECF No.

  33122) under seal.

        These documents reference personal medical histories, diagnoses, and

  treatment of Bellwether Plaintiffs or otherwise sensitive materials that are


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  confidential and not appropriate at this time for public access.. Therefore, the PSC

  moves the Court for leave to submit 5, 7, 8, 9, 27 and 28 to the Declaration of P.

  Leigh O’Dell under seal.

        A Proposed Order is simultaneously submitted with this Motion.

   Dated:     August 28, 2024                  Respectfully submitted,

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                                               /s/ P. Leigh O’Dell
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                                               Plaintiffs’ Co-Lead Counsel


                                               /s/ Christopher M. Placitella
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                                               Plaintiffs’ Liaison Counsel

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                           CERTIFICATE OF SERVICE

        I hereby certify that on August 28, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to the CM/ECF participants registered to receive services

  in this MDL.

                                                Respectfully submitted,

                                                /s/ P. Leigh O’Dell
                                                P. Leigh O’Dell




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